Case 4:99-cv-00063-EBM Document 62 Filed 10/31/00 Page, Atte P HOTA texas
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iso. . FOR THE NORTHERN DISTRICT OF TEXAS ,
FORT WORTH DIVISION ACT 3.1 200
. A
ee COURT
TOM WINDER § d
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VS § 4:99-CV-63-E te
§
C.E. MALONE §
ORDER

Now before the Court is an "Agreed Order of Nonsuit"
submitted by Plaintiff Tom Winder in the above referenced matter.
The Court will construe the "Agreed Order of Nonsuit" as a
voluntary "Motion for Dismissal" pursuant to Rule 41(a) (2) of the
Federal Rules of Civil Procedure. Having been informed that the
parties have reached a compromise settlement agreement, and after
reviewing the record in this matter, the Court finds Plaintiff's
motion well-taken and that it should be granted.

Accordingly, it 1s ORDERED that Plaintiff's claims against
Defendants C.E. Malone, David Johnson, and the City of Dublin,
Texas ("Dublin"), save and except for Plaintiff's state cause of
action for breach of contract against Dublin arising out of
Plaintiff's termination as the Dublin city manager, are
DISMISSED WITH PREJUDICE.

Tt is further ORDERED that Plaintiff's state cause of action
for breach of contract against Dublin is DISMISSED WITHOUT
PREJUDICE to the extent it is asserted in the above-referenced

and numbered cause.

7h
Signed this 3b7 day of octohey , 2000.

